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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

ROTHSCHILD DIGITAL                              §
CONFIRMATION LLC                                §
                                                §
       Plaintiff,                               §       CIVIL ACTION NO.
                                                §       1:17-cv-11706-NMG
                                                §
v.                                              §
                                                §
REPSLY, INC.                                    §
                                                §
       Defendant.                               §

       NOTICE FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), Plaintiff
Rothschild Digital Confirmation LLC, hereby dismisses all claims by Plaintiff against Defendant
Repsly, Inc., in this action WITHOUT PREJUDICE, with each party to bear its own costs,
expenses and attorney’s fees.



                                CERTIFICATE OF SERVICE


        I hereby certify that a true copy of the above document was served upon the attorney of
 record for each other party by the ECF system in accordance with Local Rules 5.2(b) and 5.4(c),
 on December 6, 2017.


Dated: December 6, 2017
                                                                     /s/Eugenio J. Torres-Oyola
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